Case 0:19-cv-62450-BB Document 81-1 Entered on FLSD Docket 06/30/2020 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              CASE NO.: 19-cv-62450-BLOOM/Valle
                                       (BY CONSENT)

  DEREK SAUNDERS,

                 Plaintiff,
  vs.

  AMPLUS AIR CONDITIONING CONTRACTOR,
  INC., AND MICHEL PEREZ,

              Defendants.
  ____________________________________________/

                  [PROPOSED] ORDER APPROVING FLSA SETTLEMENT
                         AND DISMISSAL WITH PREJUDICE

         THIS MATTER, having come before the Court upon the Parties’ joint Motion for

  Approval of FLSA Settlement for Dismissal with Prejudice, and the Court having reviewed this

  matter and being otherwise fully advised in the premises, it is hereby:

         ORDERED and ADJUDGED that the FLSA settlement approved pursuant to Lynn’s

  Food Stores, Inc. v. United States, 679 F.2d 1350 (11th Cir. 1982) and the matter is hereby

  DISMISSED with prejudice. DONE and ORDERED in Chambers in the Southern District of

  Florida on _______________________.




                                        ____________________________________________
                                        UNITED STATES MAGISTRATE COURT JUDGE



  Copies furnished to: All counsel of record




                                               Page 1 of 1
